






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00247-CV






Robert Bays, Appellant



v.



Ron Socha d/b/a Socha Electric, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 340TH JUDICIAL DISTRICT


NO. C-00-1271-C, HONORABLE BEN WOODWARD, JUDGE PRESIDING 






	Appellant Robert Bays has filed an unopposed motion to dismiss his appeal.  See Tex.
R. App. P. 42.1(a)(1).  We grant the motion and dismiss the appeal.



					                                                                                   

					Mack Kidd, Justice

Before Justices Kidd, Patterson and Puryear

Dismissed on Appellant's Motion

Filed:   August 8, 2002

Do Not Publish


